Case 1:15-cv-10790-DJC Document 212 Filed 04/08/21 Page 1of1

AQ 133 (Rev. 12/09) Bill of Costs

UNITED STATES DISTRICT COURT
for the

District of Massachusetts

 

JOHN DOE, )
Plaintiff, )
v. ) Case No.: 15-10790-DJC
TRUSTEES OF BOSTON COLLEGE, )
Defendant, )
BILL OF COSTS
Judgment having been entered in the above entitled action on May 14, 2020 against Trustees of Boston College j
Date
the Clerk is requested to tax the following as costs:
FOGS OF HECIEME: . caidsere tse ecersine onnecsgmaniie eee eae Slavesad HER UBip eve ceunsueel SES Tdles HNN BOW UR $ 400.00 (Ex. A)

Fees for service of summons and subpoena ....... 00. c cece teen eee eee e teen eee nenes

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case......

Fees and disbursements for printing .......0:0:cccec eset eect e etn e teen een ee eee e tae eeas 13,217.59 (Exs. B, C)
Fees for witnesses (itemize on page WO) sca e ccc cece ce eee ene e nee e tee ee eee e teens eidliast 2,208.10 (Exs, D, E)

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the caS@.... 0... ccc eee c eee e eee r eens eee renee eee neeenene

2,270,50 (Ex. F)
Docket fees under 28.U.S.C. 1923 ec. ces cain ais 08% Re bee bale MTs aoa is Hla ye Hiele Wee te e ne eee
Costs as shown on Mandate of Court of Appeals ...... 0. csc e cece eee ce eee tenet tne eeaee
Compensation of court-appointed experts 00.0... ec eee eee eee ee eens
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .....
Other costs (please Htennize) .. ec i ee ae e eee e ween es eee bene eas bende eee tt eed ene eanees

TOTAL §_18,096.19

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

 

Declaration

 

I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner;

Electronic service [| First class mail, postage prepaid

[| Other:

s/ Attorney: /s/ Charles B. Wayne
Name of Attorney: Charles B. Wayne

 

For: plaintiff John Doe Date: May 18, 2020
Name of Claiming Party

 

Taxation of Costs

 

Costs are taxed in the amount of i 1%, 09 lo. 19 es and included in the judgment.

Rls Korcobe By: Arik iH hhribrow Apu % QOM

J
Clerk of Court wee Deputy Clerk

 
